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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

Plaintiffs Fund Texas Choice, The North
Texas Equal Access Fund, The Lilith Fund
for Reproductive Equity, Frontera Fund,
The Afiya Center, West Fund, Jane’s Due
Process, Clinic Access Support Network, and
Dr. Ghazaleh Moayedi, DO, MPH, FACOG,
                                                      Civil Case No. 1:22-cv-00859
          Plaintiffs,
v.

KEN PAXTON, in his Official Capacity as
Attorney General; Susan R. Deski, in her
Official Capacity as County Attorney of
Burleson County, Texas, and on behalf of a
class of all County Attorneys similarly
situated; and Julie Renken, in her Official
Capacity of District Attorney for
Washington County, Texas, Wiley B.
“Sonny” McAfee, in his Official Capacity of
District Attorney for Blanco, Burnet, Llano,
and San Saba Counties, Texas, Jose Garza
in his Official Capacity of District Attorney
for Travis County, Texas, and Fred H.
Weber, in his Official Capacity of District
Attorney for Caldwell County, and on behalf
of a class of all Texas District Attorneys
similarly situated,

          Defendants.



                 APPENDIX IN SUPPORT OF FIRST AMENDED COMPLAINT

          Plaintiffs now file their Appendix in Support of their First Amended Complaint. Plaintiffs’

Appendix contains the following documents:

     Exhibit A          Freedom Caucus Letter to Sidley Austin

     Exhibit B          Courthouse News Service Article
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Exhibit C        AG Paxton’s Post-Roe Advisory Letter

Exhibit D        Press Release AG Celebrates End of Roe v. Wade

Exhibit E        AG Paxton’s 6.28.2022 Tweet

Exhibit F        AG Paxton’s 6.30.2022 Press Release Regarding Emergency Motion in

                 Support of Pre-Roe Statutes

Exhibit G        AG Paxton’s 7.2.2022 Tweet re: Effectiveness of Pre-Roe Statutes

Exhibit H        AG Paxton’s 7.1.2022 Tweet re: Enforceability of Pre-Roe Statutes

Exhibit I        AG Paxton’s Petition for Writ to Defend Pre-Roe Statutes in SCOTEX

Exhibit J        AG Paxton’s Reply in Support of Petition for Writ to Defend Pre-Roe Statutes

                 in SCOTEX

Exhibit K        Freedom Caucus Tweet re Rep. Cain Letter

Exhibit L        Updated Post-Roe Advisory

Exhibit M        Representative Cain’s 3.18.2022 Letter to Lilith Fund

Exhibit N        Representative Cain’s 6.28.2022 Tweet

Exhibit O        Representative Cain’s First 6.29.2022 Tweet

Exhibit P        Representative Cain’s Second 6.29.2022 Tweet

Exhibit Q        Representative Cain’s 6.24.2022 Tweet linking Fortune magazine article




Dated: October 11, 2022                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that this document was filed electronically on October 11, 2022, with the clerk of
the Court for the U.S. District Court, Western District of Texas, using the electronic case filing
system of the court.



                                                     /s/ Jennifer R. Ecklund
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